77 F.3d 463
    Michael F. Mervanv.Michael T. Darrell, Gary Ruschman, Kevin Dolan, Employees ofNorthhampton County Emergency Services, William Cooke,Timothy Stephens, Charles Holmberg, Thomas Ritter, EdwardRepyneck, Police Officers of Bethlehem Police Department,Thomas LLoyd William, Jr., Dr., John Patterson, Dr.,Northhampton County Emergency Services
    NO. 95-1596
    United States Court of Appeals,Third Circuit.
    Jan 30, 1996
    Appeal From:  E.D.Pa., No. 93-4552
    
      1
      AFFIRMED.
    
    